        Case 13-31231        Doc 24    Filed 09/06/18 Entered 09/07/18 01:15:07              Desc Imaged
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                                      United States Bankruptcy Court
                                   Western District of North Carolina
In re:                                                                                  Case No. 13-31231-ltb
Stephen Wayne Lillard                                                                   Chapter 13
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0419-3           User: admin                  Page 1 of 2                   Date Rcvd: Sep 04, 2018
                               Form ID: 3180W               Total Noticed: 43


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 06, 2018.
db             +Stephen Wayne Lillard,    16338 Cardross Ln,    Huntersville, NC 28078-2206
4901049         Alison R. Lillard,    16338 Cardross Lane,    Huntersville, NC 28078-2206
4901051         Ashton Reserve,    5000 Grober,    Charlotte, NC 28226
4908066        +Courtney M. Domel,    Post Office Box 829009,    Dallas, TX 75382-9009
4901059        +Delaware Place Bank,    190 E. Delaware Place,    Chicago, IL 60611-1814
4901060       ++FIFTH THIRD BANK,    MD# ROPS05 BANKRUPTCY DEPT,     1850 EAST PARIS SE,
                 GRAND RAPIDS MI 49546-6253
               (address filed with court: Fifth Third Bank,      Attn. Corporate Officer,    38 Fountain Sq. Plaza,
                 Fifth Third Center,    Cincinnati, OH 45263)
4908067        +Fifth Third Bank,    9441 LBJ Freeway, Suite 350,     Dallas, TX 75243-4652
4901069         HSBC North America,    Attn. Corporate Officer,     26525 North Riverwoods Blvd.,   4 North East,
                 Mettawa, IL 60045
4901070         Kia Financial,    Charlotte,    Charlotte, NC 28078
4901072        +PNC Bank,    po box 856177,    Louisville, KY 40285-6177
4901073        +RBS Citizens National Assocition,     Attn: Corporate Officer,    327 Hillsborough St,
                 Raleigh, NC 27603-1725
4901077        +TCF Financial Corporation,     200 Lake Street East,    Wayzata, MN 55391-1693
4901082        +World Omni Financial Corp.,     Attn. Corporate Officer,    100 Jim Moran Blvd.,
                 Deerfield Beach, FL 33442-1702
4901061        +fifth third bank,    po box 70789,    cincinnati, OH 45274-0001
4901062        +fifth thrid,    po box 740789,    cincinnati, OH 45274-0789

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
4901050        +EDI: GMACFS.COM Sep 04 2018 22:28:00        Ally Financial,    Attn. Corporate Officer,
                 PO Box 380901,    Bloomington, MN 55438-0901
4901058         EDI: CITICORP.COM Sep 04 2018 22:28:00        Citibank, NA,    Attn. Centralized Bankruptcy,
                 PO Box 20507,    Kansas City, MO 64195
4901056         EDI: CITICORP.COM Sep 04 2018 22:28:00        Citi Bank,    processing center,
                 Des Moines, IA 50363
4901052        +E-mail/Text: bankruptcy@arvest.com Sep 04 2018 18:27:44         Central Mortgage Company,
                 801 John Barrow,    Suite 1,    Little Rock, AR 72205-6511
4901053        +EDI: CAUT.COM Sep 04 2018 22:33:00       Chase Auto Finance Corp.,     Attn: Corporate Officer,
                 900 Stewart Avenue,    Garden City, NY 11530-4891
4901054         EDI: CHASE.COM Sep 04 2018 22:33:00       Chase Card Services,     Attn. Corporate Officer,
                 P.O. Box 15298,    Wilmington, DE 19850-5298
4901055        +EDI: CHASE.COM Sep 04 2018 22:33:00       Chase card services,     PO Box 15153,
                 Wilmington, DE 19886-5153
4901057        +EDI: CITICORP.COM Sep 04 2018 22:28:00        Citibank South Dakota,    Attn: Corporate Officer,
                 PO Box 6241,    Sioux Falls, SD 57117-6241
4970990        +EDI: CITICORP.COM Sep 04 2018 22:28:00        Citibank, N.A.,    701 East 60th Street North,
                 Sioux Falls, SD 57104-0493
4901063        +EDI: FORD.COM Sep 04 2018 22:33:00       Ford Motor Credit Company, LLC,
                 Attn. Corporate Officer,     PO Box 542000,    Omaha, NE 68154-8000
4901064        +EDI: RMSC.COM Sep 04 2018 22:28:00       GE Money Bank,     Attn: Corporate Officer,
                 1600 Summer Street, Fifth Floor,     Stamford, CT 06905-5125
4901065        +EDI: GMACFS.COM Sep 04 2018 22:28:00        GMAC,   Attn. Corporate Officer,     1100 Virginia Drive,
                 Fort Washington, PA 19034-3276
4901066        +EDI: GMACFS.COM Sep 04 2018 22:28:00        GMAC Inc. c/o Ally Financial,
                 Attn. Corporate Officer,     PO Box 380901,    Bloomington, MN 55438-0901
4901067         E-mail/Text: bankruptcy.bnc@ditech.com Sep 04 2018 18:27:33         Green Tree Servicing,
                 Attn. Corporate Officer,     PO Box 94710,    Palatine, IL 60094-4710
4901068        +EDI: HFC.COM Sep 04 2018 22:28:00       HSBC Bank USA, N.A.,     Attn. Corporate Officer,
                 PO Box 9068,    Brandon, FL 33509-9068
4901367        +EDI: IRS.COM Sep 04 2018 22:28:00       Internal Revenue Service,     P.O. Box 7317,
                 Philadelphia, PA 19101-7317
4901368         EDI: NCDEPREV.COM Sep 04 2018 22:33:00        North Carolina Department of Revenue,
                 Bankruptcy Unit,    P.O. Box 1168,    Raleigh, NC 27602-1168
4965276         EDI: PRA.COM Sep 04 2018 22:33:00       Portfolio Recovery Associates, LLC,      POB 41067,
                 Norfolk VA 23541
4901071        +E-mail/Text: creditreconciliation@peoples.com Sep 04 2018 18:27:38         People’s United Bank,
                 Attn. Corporate Officer,     850 Main St., 11th Floor,     Bridgeport, CT 06604-4917
4901074         EDI: NEXTEL.COM Sep 04 2018 22:33:00        Sprint,   6200 Sprint Pkwy,    Eisenhower A,
                 Overland Park, KS 66251
4905800        +EDI: STF1.COM Sep 04 2018 22:33:00       SunTrust Bank,     Attn: Support Services,
                 P.O. Box 85092,    Richmond, VA 23286-0001
4901075        +EDI: STF1.COM Sep 04 2018 22:33:00       Suntrust Bank,     Attn. Corporate Officer,
                 1001 Semmes Ave.,    Richmond, VA 23224-2245
4901078         EDI: CHRYSLER.COM Sep 04 2018 22:33:00        TD Auto Finance,    Attn. Corporate Officer,
                 27777 Franklin Rd,    Farmington Hills, MI 48334
4901076        +EDI: WTRRNBANK.COM Sep 04 2018 22:33:00        Target National Bank,    Attn. Corporate Officer,
                 3701 Wayzata Blvd.,    MS-3CG,    Minneapolis, MN 55416-3401
4934975         EDI: USBANKARS.COM Sep 04 2018 22:33:00        US Bank N.A.,    Bankruptcy Department,
                 PO Box5229,    Cincinnati, OH 45201-5229
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                                      Form ID: 3180W                     Total Noticed: 43


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
4901080         EDI: USBANKARS.COM Sep 04 2018 22:33:00      US Bank, NA,   Attn. Corporate Officer,
                 P.O. Box 5229,   Cincinnati, OH 45201
4901079         EDI: USBANKARS.COM Sep 04 2018 22:33:00      us bank,   po box 790408,   st louis, MO 63179
4901081        +EDI: BLUESTEM Sep 04 2018 22:33:00      Web Bank,   Attn: Corporate Officer,
                 215 South State St,   Ste 800,    Salt Lake City, UT 84111-2339
                                                                                             TOTAL: 28

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
4911801*          Courtney M. Domel,   P.O. Box 829009,    Dallas, TX 75382-9009
5205063*        ++PORTFOLIO RECOVERY ASSOCIATES LLC,    PO BOX 41067,   NORFOLK VA 23541-1067
                 (address filed with court: Portfolio Recovery Associates, LLC,     POB 41067,
                   Norfolk, VA 23541)
                                                                                                                    TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 06, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 4, 2018 at the address(es) listed below:
              Danielle J. Walle   on behalf of Debtor Stephen Wayne Lillard dwalle@mcilveenfamilylaw.com,
               candpbankruptcy@gmail.com
              Warren L. Tadlock   wtadlock@ch13clt.com
              Warren L. Tadlock   on behalf of Trustee Warren L. Tadlock wtadlock@ch13clt.com
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1                Stephen Wayne Lillard                                          Social Security number or ITIN   xxx−xx−9100

                        First Name   Middle Name   Last Name                           EIN   _ _−_ _ _ _ _ _ _

Debtor 2                                                                               Social Security number or ITIN _ _ _ _
(Spouse, if filing)     First Name   Middle Name   Last Name
                                                                                       EIN   _ _−_ _ _ _ _ _ _

United States Bankruptcy Court Western District of North Carolina

Case number: 13−31231




Order of Discharge                                                                                                                    12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Stephen Wayne Lillard


               9/4/18                                                         By the court:           Laura T. Beyer
                                                                                                      United States Bankruptcy Judge



Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                                 Most debts are discharged
                                                                               Most debts are covered by the discharge, but not all.
                                                                               Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                      liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                      In a case involving community property: Special rules
attempt to collect a discharged debt from the                                  protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                              spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                    case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                              Some debts are not discharged
debtors by mail, phone, or otherwise in any                                    Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                         ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                         ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                   ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                             U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                        523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                         the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                             For more information, see page 2




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    ♦ debts that the bankruptcy court has                         ♦ debts for restitution, or damages,
      decided or will decide are not discharged                     awarded in a civil action against the
      in this bankruptcy case;                                      debtor as a result of malicious or willful
                                                                    injury by the debtor that caused
                                                                    personal injury to an individual or the
    ♦ debts for most fines, penalties, forfeitures,                 death of an individual; and
      or criminal restitution obligations;

                                                                  ♦ debts for death or personal injury
    ♦ some debts which the debtors did not                          caused by operating a vehicle while
      properly list;                                                intoxicated.

    ♦ debts provided for under 11 U.S.C. §                 In addition, this discharge does not stop
      1322(b)(5) and on which the last payment             creditors from collecting from anyone else who
      or other transfer is due after the date on           is also liable on the debt, such as an insurance
      which the final payment under the plan               company or a person who cosigned or
      was due;                                             guaranteed a loan.

    ♦ debts for certain consumer purchases
      made after the bankruptcy case was filed if           This information is only a general
      obtaining the trustee's prior approval of             summary of a chapter 13 discharge; some
      incurring the debt was practicable but was            exceptions exist. Because the law is
      not obtained;                                         complicated, you should consult an
                                                            attorney to determine the exact effect of
                                                            the discharge in this case.




Form 3180W                                 Chapter 13 Discharge                              page 2
